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     Attachment C
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October 21, 2022

Derrick Boyd
Boyd Powers Williamson
105 North State St., Suite B
Decatur, TX 76234

RE: Robert Harris, et. al. v PropX, et. al.

Dear Mr. Boyd,

Thank you for the opportunity of working with you in the matter relating to Robert
Harris, Ron Cope, and Bulk Trans-Load Authority, LLC. As agreed, I have reviewed
documents related to this matter, researched data relative to this case, and estimated the
lost royalties and lost ownership payout relative the operation of PropX prior to its sale in
2021. My opinions and conclusions are contained in the text of this report.

This report was prepared solely by me. I have no current or anticipated future interests
with any of the involved parties that would prevent me from providing an unbiased
opinion. My compensation is not contingent on the opinions, analyses or conclusions in
this report. This is a preliminary report and subject to change with new data or
information.

A list of documents reviewed has been attached at the end of this report. I have also
included my current curriculum vitae, prior testimonies, and fee schedule. If you have
any questions concerning this report, please call me at 817.348.0213.

Sincerely,




Allyn Needham, Ph.D., CEA




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Allyn Needham, Curriculum Vita

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October 21, 2022

                                                                              Assignment

My name is Allyn Needham. I have a B.A. in Business Administration from Austin
College, an M.A. in Economics from Texas Christian University, and a Ph.D. in Business
Administration from California Coast University. I have taught economics at Texas
Christian University and Weatherford College. I am a principal with Shipp Needham
Economic Analysis, LLC. Through my work, I have provided testimony in federal and
state courts in the areas of personal damages, commercial damages, and business
bankruptcy. A copy of my current curriculum vitae is attached at the end of this report
along with a list of documents reviewed for this analysis.

For this assignment, I have been asked to estimate economic damages incurred by Robert
Harris and Ron Cope and their entity, Bulk Trans-Load Authority, LLC (BTA) in their
claim against Proppant Express Investments, LLC (PropX) et. al. These calculations
include estimating the value of the plaintiffs’ intellectual property at the time (October
2021) PropX was sold to Liberty Oilfield Services. They also include royalties the
plaintiffs would have received from the usage of the modular boxes through the sale of
PropX.

This is a preliminary report and subject to change with new data or information.

           Robert Harris, et. al. v Proppant Express Investments, LLC d/b/a PropX, et. al.

Robert Harris, Ron Cope, and BTA sued PropX, Robert Ramus, Chad McEver, Jim
Whipkey, Jay Alston, and Red Oak Capital Management, LLC for breach of confidence,
breach of fiduciary duty, common-law fraud, fraud of non-disclosure, and civil
conspiracy.

According to the plaintiffs’ filing, in 2010, the plaintiffs developed a better way for the
transportation and storage of proppants to market. They sought a partner for the
development of this new technology.

In 2011, plaintiffs and Hi-Crush and part of the ownership of Hi-Crush agreed to a joint
venture. Hi-Crush would provide the capital and the plaintiffs would provide the logistics
technology. As a part of their agreement to work together, Hi-Crush agreed to not


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disclose and not use the plaintiffs’ logistical technology for any purpose other than the
pursuit of the joint venture.
After a period of developing prototypes and making presentations to prospective
customers, Hi-Crush announced they wanted out of the agreement in 2015.

In July 2019, plaintiffs learned Hi-Crush was operating a container division in Colorado.
Hi-Crush employees reported being instructed to go around the Harris and Cope patent
when developing their logistical technology. Hi-Crush was selling through its container
division, which was called PropX. At that time, PropX was owned by Hi-Crush and other
investors.

PropX made its first sales in 2016. Harris and Cope claim PropX profited from the use of
their logistical technology. Harris, Cope, and their entity, BTA, sued the defendants on
January 21, 2020, the same day the U.S. Patent and Trademark Office issued Patent
10,538,381 to Sandbox, an entity to which Harris had assigned his patent rights. The
patent states the inventor of the technology is Robert Harris.

In 2017, Sandbox sued PropX for patent infringement for the proppant box technology.
PropX’s defense was to invalidate the Sandbox patent by pointing to “prior art” that pre-
dated Sandbox’s technology. PropX pointed to Robert Harris and his work. The court
agreed with the PropX argument.

Harris, Cope, and BTA claim the boxes being manufactured and sold by PropX were
derived from the logistical technology disclosed to Hi-Crush by the plaintiffs in 2011 and
2012. They claim the technology used and manufactured by PropX was/is the “prior art”
argued in the Sandbox case.

(Plaintiffs’ Third Amended Petition)

                                   The Frac Sand Industry

“The U.S. is the world’s largest producer and consumer of frac sand, and a large
percentage of domestic production comes from the Great Lakes region, particularly
Wisconsin, Minnesota, and Illinois.

To produce frac sand and ensure the quality is acceptable, mining companies wash and
dry the frac sand. Raw sand is removed from the ground and then run through a wet plant
that separates it into different grades, with standard mesh sizes including 20/40, 30/50,
40/70, and 100. Once sorted, the wet sand is run through a dry plant to reduce moisture
prior to transport. Wet sand, therefore, is considered in process.

Frac sand is integral to hydraulic fracturing, or fracking, as it’s injected into the rock
formation with the water to fracture rock and prop open the fractures that are created
during drilling. Fracking in the U.S. is heavily concentrated in North Dakota,
Pennsylvania, and Texas and requires the shipment of frac sand to shale basins 1,000
miles away or more.
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Moving frac sand from mine to transload facilities near oil and gas plays is the most
significant expense of production and accounts for upwards of 75% of the final cost for
some producers, or about $70 to $90 per ton shipped. Mines that lack direct access to a
railroad spur are forced to truck the sand to rail yards where it can be loaded onto railcars,
so it is advantageous for frac sand mines to have a railroad spur on site to keep costs
down.” (Industry Insight, Frac Sand, 7/30/2022, Gordon Brothers,
www.gordonbrothers.com)

A recent article in the American Oil and Gas Reported appears to support the Gordan
Brothers report. “Proppant usage in hydraulic fracturing operations has changed
significantly since the advent of shale plays. In the past 10 years, average proppant
demand per well has increased from 1.3 million to 15.1 million pounds, representing an
increase of 1,061%. The acceleration of demand has spurred innovation toward lower
costs, increased surety of supply and improved well performance.

This created a unique problem for forward-thinking suppliers to solve: How do you meet
the growing demand while controlling the overall cost of completion?

Ultimately, answering that question led to the discovery of in-basin sand, eliminating the
cost of rail and transload handling moves. In addition, miners found ways to reduce the
amount of processing the sand undergoes. The increase in proppant consumption per
well, along with modern last-mile delivery methods – including hopper bottom trailers
and containerized modular delivery – also has spurred innovation in the method and
mode in which frac sand is transported and stored at the well site. The confluence of
these innovations in both proppant selection and proppant transportation has led to large
cost savings, helping to lower break-even costs across North American unconventional
basins.” (“Wet Sand” Offers Multiple Benefits, Brain Dorfman, Stephen White, The
American Oil & Gas Reporter, August 2021, www.aogr.com)

Mr. Harris’ patent for a proppant box is part of the containerized modular delivery
systems mentioned in the American Oil and Gas Reporter article.

The U.S. Geographical Survey 2022 reports, “the most important driving force in the
industrial sand and gravel industry remained the production and sale of hydraulic-
fracturing sand (frac sand). For several years, the consumption of frac sand increased as
hydrocarbon exploration in the United States transitioned to natural gas and petroleum
extracted from shale deposits. However, industrial sand and gravel consumption
decreased in recent years, primarily as a result of decreased natural-gas-and petroleum-
well drilling in North America and oil well completion activity. These decreases were
exacerbated by restrictions imposed as the result of the global COVID-19 pandemic,
which resulted in a significant decline in consumption of petroleum products, which in
turn prompted a decrease in demand for hydraulic-fracturing sand.” (Mineral Commodity
Summary 2022, Robert Goodin, U.S. Geographical Survey, rgoodin@usgs.gov, p. 144)



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“The duration and outcome of the global COVID-19 pandemic remain uncertain;
however, measures previously instituted to mitigate the spread of the global COVID-19
pandemic are expected to continue to be eased or lifted in the United States and around
the world. The pandemic is likely to have less of a negative effect on the economies of
the United States and the world going forward, which could result in increased
production and consumption of industrial sand and gravel.” (Mineral Commodity
Summary 2022, Robert Goodin, U.S. Geographical Survey, rgoodin@usgs.gov, p. 145)

Yahoo Finance reports, “The latest market analysis report titled Frac Sand Market by
Type and Geography – Forecast and Analysis 2022-2026 has been added to Technavio’s
catalog. The report predicts the market to witness an accelerating growth momentum at a
CAGR [compounded annual growth rate] of 4.53%.” (Yahoo Finance, Frac Sand Market
Size Growth, www.yahoo.com)

These reports appear to confirm the demand for frac sand and the transportation modes
needed to get the sand to oil and gas drilling sites will increase in the future. This will be
a continuation of the growth trend that had begun prior to the COVID-19 pandemic.

                               Plaintiffs’ Economic Damages

Mr. Harris, Mr. Cope, and their entity BTA have claimed economic losses due to PropX
using their intellectual property (new art) in the manufacturing, selling, and/or leasing of
their modular boxes for the hauling of frac sand. These calculations consider the three
plaintiffs as one and will refer to them as Harris. There will be no division of loss among
them only a calculation of losses incurred based on their claim against the defendants.

The economic losses have been shown in two separate calculations. The first will show
the value of Harris’ intellectual property when PropX was sold to Liberty Oilfield
Services in October 2021. To estimate that value, the yardstick method has been used
relying on the value of the intellectual property contributed by Grit Energy Services to
the PropX entity. The second will show the estimated loss of royalty payments to Harris
based on the royalty rate suggested by Chad McEver. (Chad McEver deposition
8/17/2022, pp. 194-196)

                         Lost Value of Harris’ Intellectual Property

Mark Kevin Fisher stated in his deposition that Grit Energy Services (Grit) contributed
the intellectual property to the PropX enterprise. Hi-Crush and the other investors were to
provide the capital to develop and market the boxes. (Mark Kevin Fisher deposition
6/30/2022, p. 124) Scott D’Agostino confirmed Grit contributing the intellectual property
to the PropX venture in his deposition. (Scott D’Agostino 6/29/2022, p. 31)

For this contribution, Grit received partial ownership in PropX. The 11/3/2016 table of
Class A and B unit ownership in PropX showed Grit having a          % ownership
position. This percentage of ownership fluctuated above and below 16% ownership. By
1/21/2019, Grit’s ownership percentage was          %. (PropX Units / Voting Percentages,

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Exhibit 50 from Mark Kevin Fisher deposition 6/30/2022) This appears to be Grit’s
ownership percentage at the time of PropX’s sale.

The ownership of the intellectual property contributed by Grit to the PropX venture is in
dispute. Harris has claimed the modular box is based on the design he provided to Hi-
Crush in 2011. He worked with Hi-Crush in developing and perfecting the box until Hi-
Crush’s withdrawal from the project in 2015.

An affidavit provided by Lyle Bolsinger appears to support Harris’ claim. At the
conclusion of his statement, he writes, “In my opinion and from my observations, the
PropX product is derived from and constitutes a knock off of the Harris designs I saw in
2011 and the Harris prototypes I saw in 2014. I say this because other than altering the
shape of the opening at the top of the container and the style of dispensing gate, the
PropX product operates in the same manner, as a gravity fed portable proppant storage
container as the Harris designs I reviewed in 2011 and the prototypes I observed in
Augusta, Wisconsin in 2014.” (Affidavit by Lyle Bolsinger,10/12/2022, paragraph 12)

It is my understanding Mr. Harris and Mr. Cope formed BTA as an entity that would
have received either royalties or a percentage of ownership in a joint venture with Hi-
Crush. BTA, I assume, would have contributed the intellectual property to the discussed
joint venture with Hi-Crush as Grit did in the PropX venture. Based on this information
and assumptions, these calculations have estimated Harris’ loss based on the Grit
ownership percentage in PropX.

The ownership percentages in PropX changed between 5/19/2017 and 1/31/2019 as cash
calls were made and a new investor was brought on board. The changes in Grit’s units
and ownership percentage appeared this way.

                    Total         Grit        Grit %
    Dates           Units         Units      Ownership




According to Mr. Fisher, PropX sold to Liberty                                      The
ultimate price paid was slightly greater than             due to an increase in the stock
price for Liberty Oilfield Services. (Mark Kevin Fisher deposition dated 6/30/2022,
pp.114-115)


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Exhibit 52 of Mr. Fisher’s deposition shows Grit received $           from the sale of
PropX. Mr. Fisher confirmed a similar amount in his deposition testimony. (Mark Kevin
Fisher deposition dated 6/30/2022, p. 113)

If Grit had     % ownership in PropX, it appears Grit would have received
in proceeds from the sale. No explanation has been given for this $     difference.

This analysis has used comparable data as a yardstick for valuing the Harris intellectual
property. For the yardstick, the proceeds received by Grit from the sale of PropX have
been used. Grit having contributed the intellectual property used in developing the PropX
modular boxes received ownership in PropX. The proceeds Grit received from the sale of
PropX in 2021 reflected the value of Grit’s intellectual property at the time of the sale.
Because it is claimed the Harris intellectual property was used in creating Grit’s
contributed intellectual property, this analysis assumes the Harris intellectual property
has comparable value. Based on the information and assumptions discussed, I conclude
the value of Harris intellectual property ranges from $14,768,000 to $15,070,000.

                                     Lost Royalties

“The basic framework for constructing reasonable royalty damages is found in the 15
Georgia-Pacific factors. (Georgia-Pacific Corp. v United States Plywood Corp., 318
F.Supp. 1116, (S.D.N.Y. 1970, modified 446 F.2d 295, (2nd Cir. 1971))

The 15 Georgia-Pacific factors are listed below.

   1) The royalties received by the patentee for the licensing of the patent in suit,
      proving or tending to prove an established royalty.
   2) The rates paid by the licensee for the use of other patents comparable to the patent
      in suit.
   3) The nature and scope of the license, as exclusive or non-exclusive, or as restricted
      or non-restricted in terms of territory or with respect to whom the manufactured
      product may be sold.
   4) The licensor’s established policy and marketing program to maintain his patent
      monopoly by not licensing others to use the invention or by grating licenses under
      special conditions designed to preserve that monopoly.
   5) The commercial relationship between the licensor and licensee, such as, whether
      they are competitors in the same territory in the same line of business or whether
      they are inventor and promotor.
   6) The effect of selling the patent specialty in promoting sales of other products of
      the licensee; the existing value of the invention to the licensor as a generator of
      sales of his non-patented items; and the extent of such derivative or convoyed
      sales.
   7) The duration of the patent and the term of the license.
   8) The established profitability of the product made under the patent; its commercial
      success; and its current popularity.


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   9) The utility and advantages of the patent property over the old modes or devices, if
       any, that had been used for working out similar results.
   10) The nature of the patented invention; the character of the commercial embodiment
       of it as owned and produced by the licensor; and the benefits to those who used
       the invention.
   11) The extent to which the infringer has made use of the invention; and any evidence
       probative of the value of its use.
   12) The portion of the profit or of the selling price that may be customary in the
       particular business or in comparable businesses to allow for the use of the
       invention or analogous inventions.
   13) The portion of the realizable profit that should be credited to the invention as
       distinguished from non-patented elements, the manufacturing process, business
       risks, or significant features or improvements added by the infringer.
   14) The opinion testimony of qualified experts.
   15) The amount that the licensor (or the patentee) and a licensee (such as the
       infringer) would have agreed upon (at the time the infringement began) if both
       had been reasonably and voluntarily trying to reach an agreement; that is, the
       amount which a prudent licensee – who desired, as a business proposition, to
       obtain a license to manufacture and sell a particular article embodying the
       patented invention – would have been willing to pay as a royalty and yet be able
       to make a reasonable profit and which amount would have been acceptable by a
       prudent patentee who was willing to grant a license.
   (The Comprehensive Guide to Lost Profits and Other Commercial Damages, 3rd Ed.,
   Vol. 1, Nancy Fannon, Jonathan Dunitz, BVR, Business Valuation Resources,
   www.bvresources.com, pp. 631-632)

While not all factors may apply to this analysis, they have provided the context and
framework for these calculations.

In its article on patent licensing royalty rates, UpCounsel states, “Essentially, an inventor
will enter into a license arrangement to have the manufacturer, publisher, agent, or
distributor of the product sell it for the inventor. Since the licensee is doing the legwork,
it will be the main party benefiting from selling the product; however, the license
arrangement will establish a royalty rate, which is the rate the inventor will receive every
time the product sells.” (Patent Licensing Royalty Rates: Everything You Need to Know,
6/24/2020, www.upcounsel.com)

The article goes on to say, “Patent licensing royalty rates are a percentage of the gross or
net profit made on each sale of a product. Generally, a royalty is provided between the
inventor (the licensor) and manufacturer, publisher, agent, or distributor (the licensee).
Essentially, an inventor will enter into a license arrangement to have the manufacturer,
publisher, agent, or distributor of the product sell it for the inventor. Since the licensee is
doing the legwork, it will be the main party benefiting from selling the product; however,
the license arrangement will establish a royalty rate, which is the rate the inventor will
receive every time the product sells.” (Patent Licensing Royalty Rates: Everything You
Need to Know, 6/24/2020, www.upcounsel.com)
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While the use of sales or profits as a base for calculating royalties is generally true, there
are other ways of calculating the royalties a licensor is to receive from a licensee.
BVResources noted in its report on intellectual property royalty rate trends, “Royalty rate
bases have become much more diverse, indicating perhaps that entities have become
more confident with their prospects and are, therefore, being more creative with their
engagements.Ɖ Intellectual Property Trends: Average royalty rates, most active
industries, and more, 4/18/2018, Business Valuation Resources, www.bvresources.com)

This analysis assumes Harris owned the intellectual property used by PropX to
manufacture and sell or lease the modular proppant boxes. As the intellectual property
contributor, Harris could have received the same value as Grit for its contribution to
PropX or could have signed a licensing agreement and received royalty payments instead.
There is a middle ground where Harris received a lesser percentage of ownership and a
lesser royalty rate but this option has not been considered.

PropX was profitable from 2017 through 2020. Therefore, any royalty formula-based
revenue or profitability would have yielded income to Harris. Table A at the end of this
report shows PropX’s income statements for the years 2017 through 2020.

“A running royalty that uses sales dollars as the royalty base and a percentage of sales as
the royalty rate is not the only form of a running royalty. Another form of a running
royalty uses the number of infringing units as a royalty base as a per-unit royalty rate.”
(The Comprehensive Guide to Lost Profits and Other Commercial Damages, 3rd Ed. Vol.
1, Nancy Fannon, Jonathan Dunitz, BVR, Business Valuation Resources, 2014,
www.bvresources.com, p. 630)

Emails show and deposition testimony confirmed Hi-Crush and the other investors in
PropX considered making royalty payments for the intellectual property used in making
the modular boxes. Mark D’Agostino reported a royalty format where Grit was to be paid
by customers was discussed. The royalty was to be based on usage. The usage was to be
valued by the tons of sand delivered by the leased boxes. (Mark D’Agostino deposition
6/28/2022, pp. 79-82)

Mr. D’Agostino went on to explain a 3-2-1 method for calculating the royalty. Based on
the amount of tonnage moved, the royalty would be $3 per ton, $2 per ton or $1 per ton.
“I’m assuming because said 3-2-1, you know, 3-2-1, $3 based on levels of usage. You
know ten million, its going to $1 per ton. Five million was going to be 2. I don’t know if
that is exactly right, but it was a scale like that.” (Mark D’Agostino deposition 6/28/2022,
p. 103)

Chad McEver confirmed he was against the 3-2-1 royalty schedule and wanted to offer a
royalty rate of fifty cents per ton. (Chad McEver deposition 8/17/2022, pp. 195-198) The
royalty rate of fifty cents per ton of frac sand delivered by the modular boxes to the
drilling site is an example of the diverse and creative royalty methods discussed by
BVResources.


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Mr. McEver also confirmed that ultimately Grit received interest in PropX instead of
royalty payments. (Chad McEver deposition 8/17/2022, p. 195)

To estimate the royalty payments Harris would have received had they been the licensor
of the intellectual property and not Grit, data from the PropX website has been used. On
the home page of their website is a counter which shows the increasing number of pounds
of frac sand delivered. On a recent visit (10/19/2022) the PropX website showed
delivered pounds of sand at more than 139,754,800,000. (www.propx.com)

It is my understanding that the purchaser of a business that is the licensee of a patent
would be notified of the royalty agreement prior to purchase. The sale itself would not
end the obligation to pay royalty to the licensor. However, the purchaser may renegotiate
the royalty agreement as a part of the purchase of the business. For that reason, this
analysis only calculates lost royalty payments through the sale of PropX to Liberty
Oilfield Services.

The sale of PropX took place in October 2021. The calculation of lost royalty payments
in this matter is taking place in October 2022. For these calculations, it has been assumed
an additional 12 months of sand delivery has taken place since Liberty Oilfield
Services’purchase of PropX.

Using the pounds of sand delivered figure on the PropX website, the amount of tonnage
delivered has been estimated. PropX has been operating since 2016. For these
calculations, it has been assumed PropX has been in operation for 7 years (2016 through
2022). When 139,754,800 pounds is divided by 7 years, the result is an average of
19,964,983,571 pounds of sand delivered per year.

This amount has been subtracted from the 139,754,800 pounds delivered to remove sand
delivered after the sale of PropX in 2021. The resulting pounds delivered figure was
119,789,901,429. This amount was then divided by 2,000 to determine the amount of
tonnage. The amount of tonnage of sand delivered was 59,894,951.

The assumed royalty rate that would have been offered to and accepted by Harris is fifty
cents per ton. When $0.50 is multiplied by the tonnage of sand delivered the royalty to be
paid is $29,947,475.

      Estimated lbs. Delivered      139,754,885,000
     Annual Average Delivered        19,964,983,571
    Ibs. Delivered less One Year    119,789,901,429
             lbs. per ton                     2,000
  Tons of Sand Delivered 2016-21         59,894,951
  Royalty Rate @ 50 Cents per Ton               0.5
         Royalty Payments                29,947,475

Based on the information and assumptions discussed in this section, I conclude Harris
lost royalty payments based on fifty cents per ton of frac sand delivered is $29,947,475.
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                                        Conclusion

Based on the information and assumptions discussed in this report and after applying
techniques commonly used in the field of economics, I conclude that the economic
damages incurred by Harris may be calculated in two ways. The first calculation shows
the lost value of the Harris intellectual property. To determine the value, the proceeds
received by Grit from the sale of PropX has been used as a yardstick measurement for the
value of the Harris intellectual property. The Harris value has been estimated to be
between $14,768,000 and $15,070,000. The second calculation shows Harris’ loss in
royalty payments if they had licensed the Harris intellectual property to PropX. The
estimated royalty payments are based on a formula discussed by the defendants. That
formula was for payment of fifty cents per ton of delivered frac sand. The estimated
royalty payments based on this formula are $29,947,475.

These calculations end with the sale of PropX to Liberty Oilfield Services. If Harris’ loss
is based on the value of the intellectual property at the time of the PropX sale in 2021,
Harris’ loss would end with the sale. If Harris’ loss is based on royalty payments, losses
would be ongoing. This is because Harris would have made PropX the licensee for the
modular box for which the patent bears Robert Harris’ name as inventor. Additional
calculations may be made to project ongoing royalty payments through the end of the
patent’s life.

Because these loss estimates end with the sale of PropX in October 2021, there have been
no calculations of future losses. For that reason, none of the losses have needed to be
discounted to present value.

This is a preliminary report and subject to change with new data or information




Allyn Needham, Ph.D., CEA




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PropX                                                                         Page 11
                                        Table A
Income Statements

Revenue                       2017       2018      2019        2020
Lease Revenue               6,660,992 24,676,458 34,742,353 22,577,964
Sales Revenue              14,038,500 10,270,341 4,528,968 1,146,997
Total Revenue              20,699,492 34,946,799 39,271,321 23,724,961

Cost of Goods Sold
Cost of Sales Leases       11,658,474 8,277,839 5,617,039      805,695
Write Off of Lost Boxes             0          0          0    511,988
CoGS - Sales                        0          0          0    886,329
Repairs & Maintenance               0    261,282    811,650    658,101
Depreciation                2,432,899 8,060,071 11,762,708 12,834,920
Total CoGS                 14,091,373 16,599,192 18,191,397 15,697,033

Gross Income                6,608,119 18,347,607 21,079,924       8,027,928

Expenses
Salaries & Benefits         1,943,029   2,735,889     3,418,080   3,147,336
General & Administration    1,179,045   1,630,490     1,974,625   1,490,061
Bad Debt                            0           0             0   1,093,091
Software Expense              407,804     249,394        27,457           0
Amortization                  318,110     748,528     1,007,434   1,052,795
Interest Expense                    0           0       449,295     558,541
Total Expenses              3,847,988   5,364,301     6,876,891   7,341,824

Operating Income            2,760,131 12,983,306 14,203,033        686,104

Other Income                       0              0     18,224      24,634
Income Tax Expense                 0              0     88,110      -7,417

Net Income                  2,760,131 12,983,306 14,133,147        718,155

EBITDA                      5,511,140 21,791,905 27,440,694 15,156,994


Cash Flow                   7,494,933 13,599,346 -22,051,588
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                                      Documents Reviewed

In preparing this report, my review included, but was not limited to, the following.

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   2.  Hi-Crush Partners LP Form 10K 2015, 2016, 2017, 2018,
   3.  Hi-Crush Partners LP Form 10Q 1st Q, 2ndQ, 3rdQ, 2019,
   4.  Rob Crawley Deposition dated August 18, 2022, with Exhibits 99-104,
   5.  Kevin Fisher Deposition dated June 30, 2022, with Exhibits 49-66,
   6.  Mark D’Agostino Deposition dated June 28, 2022, with Exhibits 1-37,
   7.  Chad McEver Deposition dated August 17, 2022, with Exhibits 67-98,
   8.  Scott D’Agostino Deposition dated June 29, 2022, with Exhibits 38-48,
   9.  Employment agreement between SandBox Logistics and Robert Harris dated August 29,
       2015, P001571-P001580,
   10. Intellectual Property Assignment and Royalty Agreement dated August 28, 2015,
       P001581-P001586,
   11. Email to Kevin Fisher & William Barker on 7/26/16, HC0000461-HC0000463,
   12. Patent Assignment Filing September 24, 2012,
   13. United States Patent, January 21, 2020,
   14. Video Deposition of Gary Wooley dated June 19, 2019 HICRUSH_Harris005647-5716,
   15. Video Deposition of Gary Wooley dated December 20, 2018, HICRUSH_Harris005717-
       5934,
   16. Video Deposition of Gary Wooley dated September 13, 2018, HICRUSH_Harris006057-
       6338,
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   18. Emails, P000099-103, P000104-105, P000121-123, P000133,
   19. BTA, P000134-135, P000136-137,
   20. Emails Invoices P000150-151, P000171, P000175-176,
   21. Draft on Non-Binding Letter of Intent dated April 20, 2012, P000200-201,
   22. Term Sheet, P000202, P000234,
   23. Emails, P000226-231, P000299-301, P000302-304, P000305-306, P000333-343,
       P000416-417, P000427-429, P000536-537, P000570-573, P000587-588, P000606-607,
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       P001090-1091, P001092, P001304-1305,
   24. Draft on Non-Binding Letter of Intent dated April 20, 2012, P000232-233,
   25. US Patent and Trademark Filing Receipt 10/03/2011, P000258-269,
   26. SandBox Production Report April 1, 2016, P000528
   27. BTA Portable Fracturing Proppant Storage Bins, P000537,
   28. Portable Storage Business Plan, PowerPoint P000555,
   29. Intellectual Property Assignment and Royalty Agreement, P000572,
   30. Employment Agreement, P000573,
   31. Portable Storage Bin Lease Agreement, P000588,

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   32. Bulk Trans-Load Authority, P000607,
   33. Portable Storage Analysis, P000624,
   34. Grit Energy Solutions Inc., P000686-717,
   35. Intellectual Property Lease Agreement, P000771,
   36. Bulk Trans-load Authority, P000812,
   37. Harris Employment Agreement, P000915,
   38. Harris Employment Agreement Final, P000963,
   39. Intellectual Property Assignment and Royalty Agreement, P000970,
   40. Non-binding Letter of Intent, P001091,
   41. Certificate of Filing, P001185-001228,
   42. Portable Fracturing Proppant Storage Bins, Lease Pricing, P001296,
   43. New Mexico Start Up Cost Analysis, P001301,
   44. Portable Storage Analysis, P001305,
   45. Frac Sand Trans-Load Portable Storage Container, P001495-1504,
   46. Proppants Express Investments, LLC, PropX_Har00004612-00004617,
   47. US Patent Application Publication 3/27/2014,
   48. Royalty Rate Industry Summary 2016,
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   50. PropX Sand Delivered Counter, Home Page of Website, www.propx.com,
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   56. Intellectual Property Trends: Average royalty rates, most active industries, and more,
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   57. The Comprehensive Guide to Lost Profits and Other Commercial Damages, 3rd Ed., Vol.
       1, Nancy Fannon, Jonathan Dunitz, BVR, Business Valuation Resources,
       www.bvresources.com.

I spoke with Derrick Boyd or Jesse King by telephone on multiple dates to discuss details in this
case and on other occasions to clarify information relating to this matter.




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                                      VITA
                          Allyn B. Needham, Ph.D., CEA
                              Last Updated September 2022

                           6320 Southwest Boulevard, Suite 113
                                 Fort Worth, TX 76109
                                     (817) 348-0213
                                  (817) 348-0232 (fax)
                          aneedham@shippneedham.com (e-mail)


EDUCATIONAL EXPERIENCE

Ph.D.                    Business             1997                   California Coast
                         Administration                              University
M.A.                     Economics            1990                   Texas Christian
                                                                     University
B.A.                     Business             1978                   Austin College
                         Administration and
                         Economics

ACADEMIC EXPERIENCE

Institution              Title                Dates                  Course Taught
Weatherford              Adjunct Professor    1997-1999              Macroeconomics,
College                                                              Microeconomics
Texas Christian          Adjunct Professor    1994-1997              Macroeconomics
University
Texas Christian          Guest Lecturer       1994-2015              Macroeconomics,
University                                                           Securities Analysis,
                                                                     Sales Management,
                                                                     Expert’s Role in
                                                                     Conflict Resolution

PROFESSIONAL EXPERIENCE

Consulting Economist (1997-present)           Shipp Needham Economic Analysis, LLC

        (Formerly, Floyd Durham & Associates & Shipp, Needham & Durham, LLC)

Duties include providing litigation support for clients by analyzing economic issues
related to:

* Personal injury                             * Business Interruption
* Wrongful death                              * Business Valuation
* Wrongful termination                        * Lost profits
* Household Services                          * Business Bankruptcy




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Contributing author to Determining Economic Damages (James Publishing).

Contributing author to Guide to Litigation Support Services regarding Lost Profits
(Practitioner’s Publishing Company).

Previous Professional Experience (1978-1997)

Prior to joining Shipp Needham Economic Analysis, I spent twenty years in
manufacturing, banking, and insurance. Manufacturing experience includes acting as
treasurer of Jay Needham, Inc., a commercial refrigeration manufacturer (1978-1980),
and Vice President and CFO of Bob Bryan Enterprises, a musical accessory
manufacturer (1994). Banking experience includes vice presidencies of Texas American
Bank (1980-1984), Hulen National Bank (1984-1985), and Texas Commerce Trust
Company (also known as MTrust) (1987-1993). Insurance experience (1994-1997)
includes being a Registered Representative of New York Life Insurance Company.

CONTINUING EDUCATIONAL EXPERIENCE

American Rehabilitation Economics Association 2022,
Collegium of Pecuniary Damages Experts Conference 2022,
National Association of Certified Valuators and Analysts, Consultant Training Institute,
Hybrid & Virtual Winter Conference, 2021
Collegium of Pecuniary Damages Experts Conference, 2021
American Rehabilitation Economics Association Virtual Conference 2021
National Association of Certified Valuators and Analysts, Virtual Super Conference,
August 2020
National Association of Certified Valuators and Analysts, Virtual Super Conference, June
2020
National Association of Certified Valuators and Analysts, Annual Conference, 2019
American Rehabilitation Economics Association, 2019
National Association of Certified Valuators and Analysts, Financial Valuation Super
Conference, 2018
American Rehabilitation Economics Association Conference 2018
National Association of Certified Valuators and Analysts, Annual Conference 2018
American Rehabilitation Economics Association Conference 2017
Collegium of Pecuniary Damages Experts Conference 2017
American Rehabilitation Economics Association Conference 2016
Collegium of Pecuniary Damages Experts Conference 2016
American Rehabilitation Economics Association Conference 2015
Collegium of Pecuniary Damages Experts Conference 2015
American Rehabilitation Economics Association Conference 2014
Collegium of Pecuniary Damages Experts Conference 2014
American Rehabilitation Economics Association Conference 2013
Collegium of Pecuniary Damages Experts Conference 2013
American Rehabilitation Economics Association Conference 2012
International Association of Rehabilitation Professionals – Forensic Conference 2011
American Rehabilitation Economics Association Conference 2011
American Rehabilitation Economics Association Conference 2010
American Rehabilitation Economics Association Conference 2009
American Rehabilitation Economics Association Conference 2008


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National Association of Forensic Economics – Winter Meeting 2008
American Rehabilitation Economics Association Conference 2007
National Association of Forensic Economics – Winter Meeting, 2007
American Rehabilitation Economics Association Conference, 2006
National Litigation Support Services Association Conference, 2006
American Rehabilitation Economics Association Conference, 2005
Southern Economic Association, NAFE Conference, 2004
American Rehabilitation Economics Association Conference, 2004
American Rehabilitation Economics Association Conference, 2003
American Rehabilitation Economics Association Conference, 2002
Southern Economic Association Joint NAFE / AREA / AAEFE Conference, 2001
American Rehabilitation Economics Association Conference, 2001
National Litigation Support Services Association Conference, 2001
American Rehabilitation Economics Association Conference, 2000
National Advanced Litigation Services Conference, AICPA, 1999
Southwestern Social Sciences Association, NAFE Conference, 1999
Southwestern Social Sciences Association, NAFE Conference, 1998

Mastering Appraisal Skills for Valuing the Closely Held Business,
Institute of Business Appraisers, 1998

RELATED CONTINUING EDUCATION

Intermediate School of Banking, Southern Methodist University, 1985
Introduction to Commercial Lending, American Institute of Banking, 1982
Analyzing Financial Statements, American Institute of Banking, 1982
Principles of Banking, American Institute of Banking, 1981

PROFESSIONAL / CIVIC MEMBERSHIPS

National Association of Forensic Economics
American Rehabilitation Economics Association
              President, 2019-21
              President, 2005-06
              Certified Earnings Analyst, since 2000
Collegium of Pecuniary Damages Experts
              President, 2016-17
American Academy of Economic and Financial Experts
National Association of Certified Valuators and Analysts

Member of Quick Read Editorial Board, since 2020

Received Outstanding Member Award from the National Association of Certified
Valuators and Analysts in 2021

Served on Board of Editors / Referees for the following:
The Earnings Analyst,
Journal of Forensic Economics
Journal of Legal Economics




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Southwestern Society of Economics
              President, 1994-1995
United States Soccer Federation, Licensed Coach

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Looking Back to Go Forward: A Review of the Basics for Lost Profits (Part II), Quick
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Certified Valuators and Analysts, 8/17/2016,
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cramdown-rates/

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www.TheEarningsAnalyst.com, Co-author Kristin Schroeder

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and Wrongful Death: Issues for Forensic Economics and Vocational Assessment”,
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Correctional Supervision”, Journal of Forensic Economics, Vol. XVI, Number 3, Fall
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PPC’s Personal Damage Specialist Calculator and Report Writer for Personal
Injury, Wrongful Death, and Wrongful Termination Cases, Practitioner’s Publishing
Corporation, 1st Edition, 1999, 2nd Edition 2002, Co-author Shannon Shipp

“Using TIPS and Non- Indexed Treasury Securities to Project Future Inflation”, The
Earnings Analyst, Vol. IV, May 2001. Co-author Shannon Shipp

“Placing a Value on Lost Active Leisure”, 2001 Expert Witness Update New
Developments in Personal Injury Litigation, Chapter 8, Aspen Law & Business, New
York, New York, 2001. Co-author Shannon Shipp

“The Value of Active Leisure, The Earnings Analyst, Vol. III, May 2000. Co-author
Shannon Shipp

“The Concept of the Value of Active Leisure”, Southwestern Economic Proceedings
Selected Papers, Vol. 27, No. 1, 2000. Co-author Shannon Shipp



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“An Overview in Worklife Expectancy Technique: An Analysis of the DOL Worklife
Tables v LPE”, Southwestern Economic Proceedings Selected Papers, Vol. 26,
No.1, 1999. Co-author Shannon Shipp

“Inflation Exposure: The Case of the American Pharmaceutical Industry”, Southwestern
Economic Review, Vol. 24, No.1, 1997. Co-author Charles Becker

“The American Pharmaceutical Industry in the 1990’s: A Statistical Overview”,
Southwestern Economic Review, Vol. 23, No. 1, 1996. Co-author Charles Becker

“Fulfilling Market Expectations: A Preliminary Study of Youth Soccer in Fort Worth,
Texas”, Southwestern Economic Proceedings Selected Papers, Vol. 22, No. 2, 1995.

“An Analysis of the Impact of Two Potential Health Care Reforms: The Case of the North
American Pharmaceutical Industry”, Southwestern Economic Review, Vol. 22, No. 1,
1995. Co-author Charles Becker

“A Solution to the Impact of Probable Health Care Reform: The Case of the North
American Pharmaceutical Industry”, Southwestern Journal of Economic Abstracts,
Vol. 15, No. 1, 1994. Co-author Charles Becker

“Savings, Debt and Long Term Interest Rates: A Practitioner’s Perspective”,
Southwestern Economic Proceedings Selected Papers, Vol. 20, No. 2, 1993. Co-
author Charles Becker

“A Contrarian View of the Manufacturers Hanover / Chemical Bank Merger”, The
International Journal of Finance, Dec. 1993. Co-author Charles Becker

“The Manufacturers Hanover / Chemical Bank Merger: A Contrarian Perspective”,
Southwestern Journal of Abstracts, Vol. 13, No. 1, 1992. Co-author Charles Becker

“Using T-Bills and Moving Averages to Create a Buy/ Sell Strategy for Utility Stocks”,
Journal of the Southwestern Society of Economists, Vol. 19, No.1, 1992. Co-author
Charles Becker

“A Non-Quantitative Approach to Investment Risk”, Southwestern Journal of
Abstracts, Vol. 12, No. 1, 1991. Co-author Charles Becker

“Using a TBill Buy/Sell Model in Tandem with a Moving Average”, Journal of the
Southwestern Society of Economists, Vol. 18, No.1, 1991. Co-authors Charles
Becker, Harold Drummond

“The Practical Use of Moving Averages to Determine Bond Market Trends”,
Southwestern Journal of Economic Abstracts, Vol. 11, No. 1, 1990. Co-author
Charles Becker

“U.S. 90 Day Treasury Bills Rates as a Stock Market Indicator”, Journal of the
Southwestern Society of Economists, Vol. 16, No. 1, 1989. Co-authors Charles
Becker, Harold Drummond




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PRESENTATIONS

Rebroadcast of “Lost Profits in Commercial Litigation: Proving and Defending Damages,”
CLE Webinar, Strafford Publications, Inc., (1.5 CLE credit), 6/9/2022, co-presenters
Derrick Boyd, Cameron Byrd, Joseph Lesovitz, Answered questions live for June
attendees

“Intermediate Boot Camp – Estimating Lost Earning Capacity and Mitigation from the
Ground Up, American Rehabilitation Economic Association, Annual Conference, May
28, 2022

“Elements of a Lost Profits Engagement,” Collegium of Pecuniary Damages Experts
Conference, April 23, 2022, Henderson, Nevada, co-presenter Jeremiah Grant

“Lost Profits in Commercial Litigation: Proving and Defending Damages,” CLE Webinar,
Strafford Publications, Inc., (1.5 CLE credit), 3/10/2022, co-presenters Derrick Boyd,
Cameron Byrd, Joseph Lesovitz

“Impact of COVID-19 on Causation,” National Association of Certified Valuators and
Analysts, Hybrid & Virtual Winter Conference, Ft. Lauderdale, Florida, December 16,
2021

Around the Valuation World Morning Show, Panelist to discuss session on the impact of
COVID-19 when calculating commercial damages in litigation, National Association of
Certified Valuators and Analysts, Hybrid & Virtual Winter Conference, Fort Lauderdale,
Florida, December 16, 2021

“Personal Goodwill – When Do We See It?” Collegium of Pecuniary Damages Experts,
Henderson, Nevada, September 24, 2021, co-presenter Rob Schlegel

“Impact of COVID-19 on Causation,” Collegium of Pecuniary Damages Experts,
Henderson, Nevada, September 25, 2021

“Estimating Economic Loss of the Self-Employed – Lost Profits or Lost Earning
Capacity,” National Association of Certified Valuators and Analysts, Hybrid & Virtual
Super Conference, June 24, 2021

“Intermediate Boot Camp - Estimating Personal Injury and Wrongful Death Damages:
Making the Calculations and Critiquing an Opposing Expert’s Work,” American
Rehabilitation Economics Association, Virtual Conference, May 20, 2021

“Lost Profits in Commercial Litigation: Proving and Defending Damages,” CLE Webinar,
Strafford Publications, Inc., (1.5 CLE credit), March 10, 2021, co-presenters Derrick
Boyd, Cameron Byrd, Joseph Lesovitz

“Assessing Economic Damages of the Self-Employed: A Fundamental Review of
Vocational & Economic Techniques for Estimating Lost Earning Capacity and Lost
Economic Support,” IARP Virtual Annual Conference, October 7, 2020, co-presenter Neil
Bennett




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“Lost Profits and the Modern New Business Rule – How it Works and How Defendants
Try to Attack it,” National Association of Certified Valuators and Analysts, Virtual Super
Conference, August 6, 2020

“Lunch and Learn with Financial Litigation Experts,” National Association of Certified
Valuators and Analysts, Virtual Super Conference, June 18, 2020, co-presenter
Rebekah Smith

“Lost Profits and the Modern New Business Rule – How it Works and How Defendants
Try to Attack it,” National Association of Certified Valuators and Analysts, Virtual Super
Conference, June 18, 2020

“Lost Profits – Methodology, Court Standards, and Discounting to Present Value,”
Financial Valuation Super Conference, National Association of Certified Valuators and
Analysts, Ft. Lauderdale, Florida, December 10, 2019

“Lost Profits in Commercial Litigation: Proving and Defending Damages,” CLE Webinar,
Strafford Publications, Inc., (1.5 CLE credit), September 25, 2019, co-presenter Jeffrey
Totten

“Methodologies for Discounting Lost Profits – Ex Ante, Ex Post, and Hybrid,” Annual
Conference, National Association of Certified Valuators and Analysts, Salt Lake City,
Utah, June 7, 2019

“Challenges and Pitfalls in Expert Testimony,” American Rehabilitation Economics
Association, Ft. Lauderdale, Florida, May 25, 2019, co-presenters Jeffrey Joy, Steve
Bast

“Intermediate Boot Camp, Estimating Damages for Personal Injury and Wrongful Death:
Knowing and Using the Right Tools,” American Rehabilitation Economics Association,
Ft. Lauderdale, Florida, May 23, 2019

“Estimating the Economic Losses of the Self-Employed – Lost Profits or Lost Earning
Capacity,” Financial Valuation Super Conference, National Association of Certified
Valuators and Analysts, Ft. Lauderdale, Florida, December 12, 2018

“Lost Earning Capacity of Long Haul Truck Drivers: Independent vs. Rank & File
Truckers,” American Rehabilitation Economics Association, Austin, Texas, June 22,
2018

“Introduction to Lost Profits – An Overview of Methodology, Discounting, and How They
Work in Real Life,” Annual Conference, National Association of Certified Valuators and
Analysts, Las Vegas, Nevada, June 20, 2018

“Analyzing the Lost Earning Capacity of the Self Employed,” Dallas Bar Association,
North Dallas Clinic, Dallas, Texas, June 9, 2017, (provided 1.00 MCLE credit)

“Intermediate Boot Camp – Back to Basics: Present Value Calculations,” American
Rehabilitation Economics Association, San Diego, California, May 11, 2017




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“Lost Earning Capacity and Lost Earnings of the Self-Employed,” Collegium of Pecuniary
Damages Experts, Las Vegas, Nevada, April 1, 2017, co-presenter Gregson Parker

“Commercial Damages: A Case Study,” Collegium of Pecuniary Damages Experts, Las
Vegas, Nevada, March 31, 2017

“How to Determine True Income through the Review of an Individual’s Tax Returns,”
American Rehabilitation Economics Association, Philadelphia, Pennsylvania, June 4,
2016, co-presenter George McLaughlin, (replaced Ygnacio Garza)

“Intermediate Boot Camp - Assessing Economic Damages of the Self Employed: A
Fundamental Review for Estimating Lost Earning Capacity, Lost Economic Support, and
Loss of Business Value,” American Rehabilitation Economics Association, Philadelphia,
Pennsylvania, June 2, 2016

“Calculating Lost Profits Including Appropriate Discount Rates,” Collegium of Pecuniary
Damages Experts, Las Vegas, Nevada, March 18, 2016, co-presenter Jeremiah Grant

“Collaboration with Forensic Economists: Understanding Their Work,” 2016 International
Leisure and Learn Workshop, Collaboration: The Essence of Effective Life Care
Planning, Ajijic, Mexico, March 11, 2016

“Projecting Future Recidivism for Former Offenders,” American Rehabilitation
Economics Association, Reno, Nevada, June 6, 2015, co-presenter Shannon Shipp

“Intermediate Boot Camp - Estimating Lost Earning Capacity: Fitting Facts, Statistics &
Models Together,” American Rehabilitation Economics Association, Reno, Nevada, June
4 -5, 2015

“Discount Rates for Different Types of Pecuniary Damages 2015,” Issues & Practices
2015, Collegium of Pecuniary Damages Experts, Las Vegas, Nevada, March 19, 2015,
co-presenters Joseph Rosenberg, Robert Schlegel

“Chapter 11 Bankruptcy, Cram Down Rates, & the Contract Rate Approach,” Collegium
of Pecuniary Damages Experts, Las Vegas, Nevada, March 21, 2014

“The Ins and Outs of Present Value Calculations – A review of the Three Commonly
Accepted Methods,” National Association of Certified Valuators and Analysts, Litigation
Consulting Webinar Series, November 7, 2013, (webinar provided 1.0 CPE credit for
NACVA members)

“Fun with Numbers (Not) … The Ins and Outs of Present Value Calculations,” American
Rehabilitation Economics Association, New Orleans, Louisiana, May 4, 2013

“Intermediate Boot Camp - Calculating Lost Earning Capacity: Spreadsheet
Preparation,” American Rehabilitation Economics Association, New Orleans, Louisiana,
May 2 – 3, 2013

“Role of an Economic Expert in Chapter 11 Bankruptcy Matters,” Collegium of Pecuniary
Damages Experts, Las Vegas, Nevada, March 23, 2013



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“Do Former Prisoners Earn Less? Impact of Correctional Supervision on Earnings,”
IARP Webinar Series, June 27, 2012, (webinar provided 2.0 CEU’s for IARP members)

“Intermediate Boot Camp,” American Rehabilitation Economics Association, Seattle,
Washington, June 7 – 8, 2012

“Returning Past Offenders to Work: Do Former Prisoners Earn Less? – Impact of
Correctional Supervision on Earnings”, Texas Association of Rehabilitation Professionals
and Providers of Services, Winter All Day Seminar 2012, Plano, Texas, February 24,
2012

“Do Former Prisoners Earn Less? – Impact of Correctional Supervision on Earnings”,
International Association of Rehabilitation Professionals – Forensic Conference, Las
Vegas, Nevada, November 5, 2011

“Ethical Issues in the Interface between Vocational and Economic Experts”, American
Rehabilitation Economics Association, Chicago, Illinois, June 11 – 14, 2009, co-
presenter - Shannon Shipp, Ph.D.

“Boot Camp ‘Determining Personal Damages 201’”, Pre-Conference Session, American
Rehabilitation Economics Association, Chicago, Illinois, June 11 – 14, 2009, co-
presenters – Kevin Marshall, J.D., MPA, Shannon Shipp, Ph.D., (course provided one
hour of graduate credit for economics from University of La Verne)

“Cram Down Interest Rates in Chapter 11 Cases: Looking for the Magic Bullet”, April 20,
2009, Tarrant County Bar Association, Bankruptcy Bar, Fort Worth, Texas, (provided 30
minutes of CLE credit)

“Forensics Economics 101”, Boot Camp, Pre-Conference Session, American
Rehabilitation Economics Association, Pittsburgh, Pennsylvania, May 15 – 16, 2008, co-
presenters – Kevin Marshall, J.D., MPA, Shannon Shipp, Ph.D., (course, in conjunction
with two other sessions, provided one hour of graduate credit for economics from
University of La Verne)

“Analyzing Reorganization Plans and Assessing Cram Down Interest Rates for the
Repayment of Debt in Chapter 11 Bankruptcy Cases”, National Association of Forensic
Economics – Winter Meeting, Curacao, Netherlands Antilles, February 1, 2008

“The Self-Employed & Damages: Legal, Vocational & Economic Perspectives”, Pre-
Conference Session, American Rehabilitation Economics Association, Pittsburgh
Pennsylvania, May 17 – 18, 2007, co-presenters, legal perspective – Derrick Boyd, Esq.,
vocational perspective – William Reed, Ph.D., (course provided one hour of graduate
credit for economics from University of La Verne)

“Cram Down Interest Rates for Unsecured Creditors: Where is the Risk?”, National
Association of Forensic Economics – Winter Meeting, Western Caribbean Cruise,
January 28, 2007

“Double Counting: What It Is and How to Avoid It”, American Rehabilitation Economics
Association, Reno Nevada, May 20, 2006



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“Personal Damages Calculations and the Courts: A Square Peg in a Round Hole or
Common Sense for the Common Man”, National Litigation Support Services Association,
Las Vegas, Nevada, May 9, 2006

Panel on “Some Key Issues in Employment Termination Cases”, American
Rehabilitation Economics Association, Reno, Nevada, May 14, 2005

“The Sources and Uses of Growth and Discount Rate Data in a Litigious Environment”,
Pre-Conference Session, American Rehabilitation Economics Association, Reno
Nevada, May 12-13, 2005, Co-presenter – Gene Trevino, (course provided one hour of
graduate credit for economics from Our Lady of the Lake University, Reno Nevada)

Panel on “Differences Between the Roles of a Forensic Economist for the Plaintiff and
for the Defendant in Personal Injury / Wrongful Death Litigation”, Southern Economic
Association, NAFE Conference, New Orleans, Louisiana, November 21, 2004

“Issues in Estimating Final Date of Separation from the Workforce”, Panel on Issues
Calculating Work Life Expectancy: Quantitative vs. Qualitative Data, American
Rehabilitation Economics Association, Fort Worth, Texas, May 17, 2003.

“The Best of ‘Bad’ Testimony: Strategies and Techniques No Expert Should Ever Use –
And Why.” American Rehabilitation Economics Association, Fort Worth, Texas, May 16,
2003 (replaced Jim Rodgers on panel with Jerry Martin).

“Surviving a Daubert Challenge: A Survey of Attorneys”, American Rehabilitation
Economics Association Conference, Reno, Nevada, May 18, 2002

“Understanding the MCPI: Lists of Terms and Definitions of Categories / The Appropriate
Use and Application of the MCPI in a Litigation Context”, American Rehabilitation
Economics Conference, Reno, Nevada, May 18, 2002

“Expense Offsets in Lost Earnings Calculations”, Panel Presentation: Issues Relating to
Offsets Between Damage Elements in Forensic Economics, Southern Economic
Association, Joint NAFE / AREA / AAEFE Conference, Tampa, Florida, November 18,
2001

Panel Presentation: Discount Rates in Lost Profits Cases, Discounting Methods and
Theories, Discounting Methods on Other Issues, National Litigation Support Services
Association, Las Vegas, Nevada, May 18, 2001.

“Inflation, Yield Curves and Inflation Indexed Bonds”, Southwestern Society of
Economists, New Orleans, Louisiana, March 2, 2001.

“Head to Head: A Close-up View of Damage Software for Economic Professionals”,
American Rehabilitation Economics Association Conference, Reno, Nevada, May 20,
2000.

“Head to Head to Head: A Close-up View of Software for Damage Calculations”,
Southern Economic Association, New Orleans, Louisiana, November 21, 1999.




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“The Concept of the Value of Active Leisure”, National Association of Forensic
Economists, Southwestern Meeting, San Antonio, Texas, April 2, 1999.

Panel Discussion on Different Perspectives of Discount Rates, National Association of
Forensic Economists, Southwestern Meeting, San Antonio, Texas, April 2, 1999.

“Lost Earning Capacity: A Comparison of the Gamboa Tables, LPE and the Department
of Labor Tables”, Southwestern Society of Economists, Houston, Texas, March 11,
1999.

Round Table on Wrongful Death, National Association of Forensic Economists,
Southwestern Meeting, Corpus Christi, Texas, March 21, 1998.

“An Overview in Worklife Expectancy Technique: An Analysis of the DOL Worklife
Tables versus LPE”, Southwestern Society of Economists, Dallas, Texas,
March 6, 1998.




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       Requirements for Certified Earnings Analyst (CEA)
                                Granting Organization

American Rehabilitation Economics Association (AREA)

                              Certification Requirements

To obtain a CEA, the applicant must complete certain education, experience, and testing
requirements. He or she must also agree to the code of ethics promulgated by AREA,
obtain recommendations from attorneys, and complete ongoing continuing education.
The specific requirements are listed below.

                                       Education

All transcripts must be submitted. They are reviewed for relevant coursework in
economics, statistics, finance, accounting, etc.

                                      Experience

At least two actual work products and at least one deposition must be submitted.

                                  Recommendations

At least three written recommendations from attorneys who can attest to the applicant’s
quality of work and character must be submitted.

                                         Ethics

The candidate must sign the AREA Code of Ethics.

                                        Testing

The candidate must pass 6-8 hour written exam on principles of estimating lost earnings
and benefits

                                Continuing Education

The candidate must complete 15 hours of continuing education each year and at least 45
hours every three years
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                                         ALLYN B. NEEDHAM
                                  TESTIMONIES AND DEPOSITIONS GIVEN



 ATTORNEY          LOCATION       DATE             CASE                 TYPE OF         DEPOSITION    TRIAL /
                                                                       ANALYSIS                      HEARING
Robert Goodman     Fort Worth,     9/22       Russell Mullins v         Wrongful            *
                    TX (via                  Traveling Coaches,        Termination
                   Zoom from                Inc., et. al. v Russell    Back Pay &
                     office)                   Mullins, et. al.         Front Pay
                                            D-1-GN-20-001884             Losses
                                             Travis County, TX
 Jonathan Capp      Fort Worth,    9/22   Carlos de Freitas et. al.,   Supplemental         *
                   TX (via home                  v The Hertz            Reports for
                      Zoom)                  Corporation, et. al.        de Freitas
                                           2:18-CV-01522-JAD-          Lost Earning
                                                     BNW                Capacity &
                                           United States District      Present Value
                                            Court for District of       of Life Care
                                                   Nevada                   Plan
Keith Langston,    Fort Worth,     9/22   Sarah Lynne Hanson v         Lost Earning         *
 Tom Reardon        TX (via                 Werner Enterprises,           Capacity
                   Zoom from                     Inc., et. Al.
                     office)                    2 :21-cv-245
                                          U.S. District Court for
                                           the Eastern District of
                                              Texas, Marshall
                                                   Division
  Eric Cooper      Fort Worth,     9/22     Philip Green v Ricky       Lost Earning         *
                    TX (via                     Powell, et. al.         Capacity
                   Zoom from                       21-0109
                     office)               Harrison County, TX
 Ted Anderson,     Dallas, TX      9/22   Jeffrey Gray, et. Al. V      Benefit of the                      *
Clark Will, Clay                          Gutman Vision, Inc., et.      Bargain on
    Hartman                                           Al.                Purchase
                                               DC-17-07929               Price of
                                             Dallas County, TX          Business &
                                                                         Unwind
                                                                         Purchase
                                                                         Amount
Jeremy Aleman,     Fort Worth,     8/22    Keonata Davis v CKJ         Lost Earning         *
 Marty Young           TX                   Transport – Energy           Capacity
                                           Services, LLC, et. Al.
                                               2021-615-B
                                            Gregg County, TX
Matthew Holland     Fort Worth,    6/22      Laszlo Kulcsar v          Lost Earnings        *
                      TX (via                Venetian Casino              for Self-
                   office Zoom)             Resort, LLC, et. Al.         Employed
                                              A-20-808975-C              Business
                                            Clark County, NV             Owner &
                                                                       Present Value
                                                                         of Future
                                                                       Tech Support



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Adewale Odetunde      Fort Worth,    6/22       Paula Duriseau,          Wrongful       *
                        TX (via              Individually & as the       Death Lost
                     office Zoom)            Representative of the       Economic
                                               Estate for Stephen        Support &
                                             Duriseau v Jonathan            Lost
                                                   Ball et. al.          Household
                                                017-316905-20             Services
                                              Tarrant County, TX
   Ladd Sanger        Fort Worth,    5/22   Ann Christensen, et. al.     Wrongful       *
                        TX (via               v Gus Tamborello,          DeathLost
                     office Zoom)                  Temporary             Economic
                                             Administrator of the        Support &
                                              Estate of Jeffrey C.          Lost
                                                  Weiss, et al.          Household
                                                  477,158-101             Services
                                            Probate Court Number
                                                        2
                                              Harris County, TX
William Masterson     Dallas, TX     4/22       Elena Izak v TD         Lost Earning             *
                                                Ameritrade, Inc.        Capacity Due        (Arbitration
                                              FINRA Arbitration         to Damaging          Hearing)
                                                                        Language in
                                                                           her U-5
Susan Hutchison,     Fort Worth,     3/22       Kevan Mott v              Wrongful                 *
 Rafe Foreman            TX                  TESMEC USA, Inc.           Termination
                                               017-304893-18             Back Pay &
                                             Tarrant County, TX           Front Pay
                                                                            Losses
J. Robert Forshey,   Fort Worth,     3/22     In re: Jack County          Projecting               *
Matt Maben, David        TX                  Hospital District d/b/a     Cash Flow
      Spiller                                  Faith Community            for Health
                                              Community Health            System in
                                                     System               Chapter 9
                                               20-42012-mxm9             Bankruptcy
                                            U. S. Bankruptcy Court          & Best
                                                for the Northern           Interest
                                              District of TX, Fort         Analysis
                                                Worth Division
  Gunter Barber       Fort Worth,    2/22   Paul Barfield v Leoncio       Critique of   *
                     TX (via home             Gutierrez, DBA LG         Lost Earning
                        Zoom)                   Trucking, et. al.          Capacity
                                                 017-306186-19             Analysis
                                              Tarrant County, TX         Provided by
                                                                          Opposing
                                                                            Expert
   James Beam        Stephenville,   2/22   Crystal Grimsley, et. al.        Lost       *
                         TX                   v Kadarius Armon-           Household
                                             Rodkei Reeder, et. al.        Services,
                                                 CV-20-0518             Present Value
                                              Parker County, TX          of Life Care
                                                                             Plan




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Thomas Arbon,        Fort Worth,   1/22     Charles Stroble v B.       Present Value    *
                       TX (via             Braun Medical, Inc., et.    of a Life Care
                    office Zoom)                     Al.                    Plan
                                            213-2017-CV-00137
                                              New Hampshire
                                               Superior Court
 Derrick Boyd,      Decatur, TX    12/21     Envirodigm, Inc. v         Lost Profits    *
  Jesse King                               Texas Instruments, Inc.     from Delayed
                                                DC-19-20259              Launch of
                                             Dallas County, TX            Business
 Ted Anderson,       Fort Worth,   11/21    Jeffrey Gray, et. al v        Estimate      *
   Clark Will          TX (via              Gutman Vision, Inc.,       Overpayment
                    office Zoom)                    et. al.             for Purchase
                                                DC-17-07929                of Two
                                             Dallas County, TX             Optical
                                                                           Stores,
                                                                         Additional
                                                                        Interest Exp
                                                                       & Investment
                                                                            Costs
 Luis Cardenas,      Fort Worth    11/21    Reynaldo Molina, Jr.,       Lost Earning    *
Joe Escobedo, Jr.      TX (via                 et. al. v Superior        Capacity &
                    office Zoom)             Asphalt, Inc. d/b/a/      Present Value
                                            Texas SAI, Inc., et. al.    of Life Care
                                                   DC-20-69                 Plan
                                              Starr County, TX
Robert Tramuto       Fort Worth    10/21   Isabel Aranzamendi, et.       Wrongful       *
                       TX (via               Al. V Atmos Energy         Death Lost
                    office Zoom)                 Corp, et. Al.           Economic
                                               CC-18-05668-E             Support &
                                              Dallas County, TX             Lost
                                                                         Household
                                                                          Services
Brady Williams       Dallas, TX    9/21    Gregory Motto & Genie       Lost Earning     *
                                               Motto v Daniel           Capacity &
                                            Martinez, D.O., et. al.    Present Value
                                               342-313198-19            of Life Care
                                            Tarrant County, TX              Plan
  Mike Slack,       Fort Worth,    9/21      Ali Mohammed Al-            Wrongful       *
  Derek Quick           TX                  Khawaldeh, et. al. v        Death Lost
                                              Boyd A. “Skip”             Economic
                                               Tackett, et. al.          Support of
                                             1:20-cv-01079-RP            Jordanian
                                                                        who died in
                                                                            U.S.




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Derrick Boyd,    Fort Worth,     8/21    R. Wade McKenna,            Business              *
 Jesse King          TX                  D.O. v Neil Riordan,      Valuation of
                                           Ph.D., et. Al. &             45%
                                          RMI Cell Therapy,        Ownership in
                                           LLC v R. Wade           RMI, 17.5%
                                           McKenna, D.O.           ownership in
                                           348-300858-18              ATI &
                                         Tarrant County, TX          Successor
                                                                    Companies,
                                                                      Loss of
                                                                    Distribution
                                                                      Income
 Samuel Burke    Fort Worth      8/21    5 M&R Ranch, LP et.        Opportunity    *
                   TX (via               Al. V Rhon Rommer,        Cost Analysis
                office Zoom)                    et. Al.              Based on
                                             18-9039-393           U.S. Treasury
                                          Denton County, TX         Bonds and
                                                                   the S&P 500
                                                                       Index
 Matt Meyer       Fort Worth     8/21   Janet Northrup, Chapter     Fraudulent     *
                TX (in person           7 Trustee for the Estate    Transfer &
                 & via Zoom               of FM Forrest, Inc. v      Solvency
                from 3rd party           Nazario Paragano, et.      Assessment
                   location)                       al.
                                               2019-79948
                                           Harris County, TX
John Polewski    Fort Worth,     8/21    Tina Cellars v Daniel     Lost Earning    *
                   TX (via                Sunwoo, MD, et. Al.       Capacity
                office Zoom)                  DC-18-09173
                                           Dallas County, TX
 Chris Weber,    Fort Worth,     7/21    Hector Garza, v RTS          Critique     *
Danny Needham   TX (via home             Energy Services, LLC        Damages
                   Zoom)                  &Charles Barron, Jr.      Calculations
                                                 52408              Provided by
                                          Howard County, TX          Opposing
                                                                      Expert,
                                                                     Calculate
                                                                   Present Value
                                                                    of Plaintiff
                                                                        and
                                                                    Defendant’s
                                                                     Life Care
                                                                       Plans
  Clark Will     Dallas, Tx      6/21   Ampthink, LLC v. Neil      Supplemental    *
                 (via office             MacRaild, et. al. v        Estimate of
                   Zoom)                 William Anderson           Lost Profits
                                           DC-19-15995               Based on
                                         Dallas County, TX           New Sales
                                                                       Data




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W.D. Masterson,      Dallas, TX    6/21     Linda Kalmbach v          Wrongful        *
Robert Thornton                            Nader Ewaida, M.D.,          Death
                                                  et. al.                Lost
                                               19-8028-211            Economic
                                           Denton County, TX         Support, Lost
                                                                      Household
                                                                       Services,
                                                                      Critique of
                                                                      Opposing
                                                                       Expert’s
                                                                        Report
Kolter McKenzie,    New Boston,    6/21   Charles Wayne Smith        Lost Earning             *
  Ben Martin           TX                   and Kelly Smith v          Capacity
                                          Michael Gibson, M.D.,
                                                  et. al.
                                               18C0888-005
                                            Bowie County, TX
David Drez, III,    Fort Worth,    5/21   VLP Contractors, LLC       Lost Profits,    *
Zach Farrar, Paul       TX                v Jay Berney, et. al. &     Lost Profits
     Elkins                                Jay Berney, et. al. v      from Sales
                                          VLP Contractors, LLC,        Made by
                                                  et. al.            Defendants,
                                              017-308822-19            Wages &
                                           Tarrant County, TX        Benefits Paid
                                                                      Defendants
                                                                         While
                                                                     Employed by
                                                                     & Competing
                                                                     with Plaintiff
 Jon Harrison,       Fort Worth,   4/21     Preston Burton, as          Critique      *
Kristin Newman      TX (via home          Independent Executor         Damages
                       Zoom)              of the Estate of Trevor    Calculations
                                           Morris, et. al. v First   Provided by
                                          AV Group, LLC, et. al.       Opposing
                                                19-0412-B               Expert
                                            Smith County, TX
 Derrick Boyd,       Decatur TX    4/21    R. Wade McKenna,            Business       *
Allen Williamson,     (via Boyd            D.O. v Neil Riordan,      Valuation of
    Jesse King         Powers                 Ph.D., et. Al. &            45%
                     Williamson             RMI Cell Therapy,        Ownership in
                    office Zoom)              LLC v R. Wade           RMI, 17.5%
                                              McKenna, D.O.          ownership in
                                              348-300858-18              ATI &
                                           Tarrant County, TX          Successor
                                                                      Companies,
                                                                        Loss of
                                                                      Distribution
                                                                        Income
   Clark Will         Dallas Tx    3/21   Ampthink, LLC v. Neil      Estimate Loss    *
                         (via              MacRaild, et. al. v           Due to
                     Ampthink              William Anderson            Reduced
                    office Zoom)             DC-19-15995               Value of
                                           Dallas County, TX           Purchase
                                                                     Price & Lost
                                                                         Profits



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Jessica Anderson,    Fort Worth,   3/21       Janice Ouhrabka v         Wrongful       *
Robert Goodman,     TX (via home              Exeltis USA, Inc.,       Termination,
        Jr.            Zoom)                4:20-CV-00215-RWS          Back Pay &
                                           U.S. District Court for      Front Pay
                                            the Eastern District of       Losses
                                                Texas, Sherman
                                                   Division
Robert Goodman,      Fort Worth,   12/20   Erin E. Green v Infosys     Lost Earning    *
 Jr., Clark Will    TX (via home               01-18-0001-4727            Capacity
                       Zoom)                American Arbitration        Back Pay &
                                                  Association            Front Pay
                                                                           Losses
   Ben Martin        Fort Worth,   11/20    Misty Greger, et. Ux.,     Lost Earning    *
                    TX (via home              Joey Greger v C.R.         Capacity,
                       Zoom)                   Bard, Inc. Et. Al.      Present Value
                                              4:19-cv-00675-SDJ         of Life Care
                                           U.S. District Court for          Plan
                                            the Eastern District of
                                                Texas, Sherman
                                                   Division
 Steve Aldous,       Fort Worth,   10/20        Native Oilfield        Opportunity     *
Richard Capshaw     TX (via home            Services, LLC & John         Cost Loss
                       Zoom)                 Barclay v Settle Pue,        Due to
                                           P.C. & The Settle Firm,      Inability to
                                                   Inc., P.C.             Obtain
                                                   18-14393             Additional
                                              Dallas County, TX           Capital
 Charla Aldous,      Fort Worth,   10/20      L.W. and J.W. v St.      Lost Earning             *
 Tiffany Standly       TX (via                David’s Healthcare         Capacity          (Arbitration
                    office Zoom)             Partnership, LP, LLP                           Hearing)
                                               01-20-0001-7523
                                            American Arbitration
                                                  Association
 Charla Aldous,      Fort Worth,   10/20      L.W. and J.W. v St.      Lost Earning    *
 Tiffany Standly    TX (via home              David’s Healthcare        Capacity
                       Zoom)                 Partnership, LP, LLP
                                               01-20-0001-7523
                                            American Arbitration
                                                  Association
  James Beam         Fort Worth,   10/20   Crystal Grimsley, et. al.        Lost               *
                       TX (via                v Kadarius Armon-          Household          (Default
                    office Zoom)            Rodkei Reeder, et. al.       Services,          Hearing)
                                                  CV20-0518            Present Value
                                              Parker County, TX         of Life Care
                                                                            Plan
 Derrick Boyd,       Fort Worth,   9/20    UMB Bank, NA v Kobi            Business                *
Allen Williamson,      TX (via              Electric, LLC et. al.        Valuation,
   Matt Meyer       office Zoom)              017-299994-18               Fairness
                                            Tarrant County, TX          Opinion on
                                                                          Letter of
                                                                          Intent to
                                                                          Purchase




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Adewale Odetunde    Fort Worth,   7/20   Kate Harrison, et. Al. V      Present      *
                   TX (via home          Anthony Huey, et. Al.        Valuation
                      Zoom)                  348-299113-18           Calculation
                                          Tarrant County, TX        of Life Care
                                                                    Plan for Kate
                                                                      Harrison
 Dean Gresham       Fort Worth,   7/20   Kendan Elliott, as Next       Present      *
                   TX (via home           of Friend of S.J.E.,a       Valuation
                      Zoom)               Minor v Aaron Spitz,       Calculation
                                              M.D., et. al.         of Life Care
                                          8:18-cv-02100-JLS-           Plan for
                                                  JDE                   S.J.E.
                                         U.S. District Court for
                                         the Central District of
                                          California, Southern
                                                Division
   Jason Smith      Fort Worth,   6/20   Ricardo Avita v Texas      Lost Earning    *
                   TX (via home           Christian University         Capacity
                      Zoom)                 342-307963-19           Back Pay and
                                          Tarrant County, TX          Front Pay
                                                                        Losses
                                                                      including
                                                                     Lost Tuition
                                                                      Assistance
 W.D. Masterson    Fort Worth,    6/20    Joy Johnson v BBVA        Lost Earning    *
                        TX                   Compass Bank              Capacity
                    (via home                141-307266-19          Back Pay and
                      Zoom)                Tarrant County, TX         Front Pay
                                                                        Losses
 W.D. Masterson    Fort Worth,    4/20        Robert Tapley v       Lost Earning    *
                        TX                     Simplifile, LC          Capacity
                    (via home                3:19-CV-00227-N          Back Pay
                      Zoom)               U.S. District Court for   and Front Pay
                                         the Northern District of       Losses
                                          Texas, Dallas Division
  Jason Ankele      Fort Worth,   4/20          Lorna Dean,         Lost Earning    *
                   TX (via home             Individually and as      Capacity
                      Zoom)               Next Friend of K.F., a
                                          Minor v Construction
                                         Zone of Texas, LLC, et.
                                                     al.
                                               153-296860-17
                                           Tarrant County, TX
 Chester Gilmore    Fort Worth,   3/20    Kathryn Bickler, DDS       The Impact     *
                   TX (via home             v U.S. Healthworks       of External
                      Zoom)                  Medical Group of       Causation on
                                            Alaska, LLC, et. al.      Dentist’s
                                             3AN-18-05843 CI         Income in
                                            3rd Judicial District      Alaska
                                            Anchorage Alaska
 Kevin Queenan,     Arlington,    3/20   Johnny K. Prescher, et.    Lost Earning    *
  Carlos Lopez         TX                  al. v Chaparral Steel     Capacity
                                              Company, et. al.
                                              DC-C201600481
                                           Johnson County, TX



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Robert Goodman,      Dallas, TX    2/20     Michael Grim & Jim      Lost Earning               *
       Jr.                                   Maynard v City of        Capacity,
                                                  Denton            Back Pay and
                                               DC-17-08139           Front Pay
                                            Dallas County, TX          Losses
 Derrick Boyd,       Decatur, TX   2/20    UMB Bank, NA v Kobi        Business      *
Allen Williamson                            Electric, LLC et. al.    Valuation,
                                              017-299994-18           Fairness
                                            Tarrant County, TX       Opinion on
                                                                      Letter of
                                                                      Intent to
                                                                      Purchase
 Michael Yanof,      Dallas, TX    1/20      C.D.C. v Bethany       Lost Earning               *
 Wes Black, Jeff                                  Stewart             Capacity
   Goldfarb                                    DC-16-08108
                                             Dallas County, TX
  Ethan Shaw,        Houston, TX   1/20     Cassandra Johnson v     Lost Earning               *
Rachel Crutchfield                            Mercury County          Capacity,
                                           Mutual Insurance Co.     Present Value
                                                2018-57072           of Life Care
                                             Harris County, TX           Plan
 Michael Henry,      Fort Worth,   12/19     Lori and Michael       Lost Earning    *
 Robert Hammer           TX                Rawson v Skipper Joel      Capacity,
                                           Bertrand, MD, et. Al.         Lost
                                              048-300202-18           Household
                                            Tarrant County, TX        Services,
                                                                    Present Value
                                                                     of Life Care
                                                                         Plan
  Peter Malouf,      Dallas, TX    11/19   James Hefner, as next    Present Value   *
 Stephen Malouf                              friend of Brian R.      of Life Care
                                           Hefner v Caregiver 1,         Plan
                                                 Inc., et. al.
                                                DC 18-07724
                                            Dallas County, TX
 Jonathan Capp       Fort Worth,   10/19    Isabel Auler, et. al.   Lost Earning    *
                         TX                     v The Hertz           Capacity,
                                             Corporation, et. al.   Present Value
                                           2:18-cv-01522-JAD-        of Life Care
                                                    PAL             Plans, Brand
                                             U.S. District Court      Separation
                                             District of Nevada        Analysis
  Ted Anderson,      Dallas, TX    10/19     Kyle Hagen v East      Back Pay and             *
 Robert Behrendt                                Lake Capital          Front Pay         (Arbitration
                                           Management, LLC, et.      Loss, Value          hearing)
                                                      al.             of Equity
                                           American Arbitration       Interest in
                                                 Association           Business
                                             01-18-0001-6045
  Ethan Shaw,        Fort Worth,   10/19   Cassandra Johnson v      Lost Earning    *
Rachel Crutchfield       TX                   Mercury County          Capacity,
                                           Mutual Insurance Co.     Present Value
                                                2018-57072           of Life Care
                                             Harris County, TX           Plan




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Robert Goodman,    Dallas, TX    10/19    Michael Grim & Jim        Lost Earning    *
       Jr.                                 Maynard v City of         Capacity,
                                                Denton              Back Pay and
                                             DC-17-08139             Front Pay
                                          Dallas County, TX            Losses
W.D. Masterson     Dallas, TX    9/19       Life Insurance            Business              *
                                            Company of the           Valuation,         (Pre-Trial
                                          Southwest, et. al. v          Lost             Hearing)
                                           Blake Zaal, et. al.      Commission
                                             DC-17-17560               Stream
                                          Dallas County, TX
Stephen Malouf,    Dallas, TX    9/19    Robin Phelan, et. al. v    Lost Earning              *
  Peter Malouf                           Walnut Hill Physicians’      Capacity,
                                          Hospital, LLC et. al.          Lost
                                             DC-16-13777              Household
                                          Dallas County, TX           Services,
                                                                    Present Value
                                                                     of Life Care
                                                                         Plan
Susan Hutchison,   Fort Worth,   9/19     Roy Stults v Lonestar     Lost Earning    *
   Chris Stoy          TX                 Prospects, Ltd. d/b/a        Capacity
                                                Vista Sand
                                             141-295874-17
                                           Tarrant County, TX
 Charla Aldous,    Dallas, TX    9/19     Jiebo Xi & Xiaolian       Lost Earning    *
  Caleb Miller                           Ren v BMC West, LLC           Capacity,
                                                  et. al.           Present Value
                                              DC-18-04795            of Life Care
                                           Dallas County, TX          Plan Costs
 Clay Hartmann     Dallas, TX    8/19    Cynthia Moser, et. Al.      Lost Income    *
                                              V Omnitrition          from Multi-
                                            International, Inc.          Level
                                              3:16-cv-02558           Marketing
                                           U.S. District Court        Firm, Lost
                                           Northern District of     Income from
                                         Texas, Dallas Division       new MLM
                                                                      firm due to
                                                                     Interference
Mark Underwood     McKinney,     8/19    Thomas Stocks, et. al. v   Present Value   *
                     TX                  Wal-Mart Stores Texas,      of Life Care
                                               LLC, et. al.           Plan Costs
                                                99382-86
                                          Kaufman County, TX
W.D. Masterson     Dallas, TX    8/19     Life Insurance Co. of      Business       *
                                            the Southwest &          Valuation
                                         National Life Insurance
                                                  Co. v
                                           Blake Zaal et. Al.
                                              DC-17-17560
                                           Dallas County, TX
Michael Yanof,     Dallas, TX    8/19      C.D.C. v Bethany         Lost Earning    *
Wes Black, Jeff                                  Stewart             Capacity
  Goldfarb                                    DC-16-08108
                                           Dallas County, TX




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Michael Alfred,   Dallas, TX    7/19    Jack County Hospital       Lost profits             *
 David Spiller                           District d/b/a Faith                          (Arbitration
                                       Community Hospital v                             Hearing)
                                       Blue Cross Blue Shield
                                       of Texas, a Division of
                                         Health Care Service
                                             Corporation
                                          01-17-0006-8253
                                        American Arbitration
                                             Association
W.D. Masterson    Dallas, TX    7/19   Maria R. Limas v City      Lost Earning     *
                                              of Dallas              Capacity,
                                            DC-18-16334           Back Pay and
                                         Dallas County, TX          Front Pay
                                                                       Loss
Patrick Carew      Corpus       6/19    MSW Corpus Christi          Loss of the               *
                  Christi, TX             Landfill, LTD., v           Use of
                                         Gulley-Hurst LLC,        Money, Loss
                                        Robert Bryan Gulley,      of Option to
                                       Individually and Phillip    Sell Interest
                                        R. Hurst, Individually     in Business,
                                         2016DCV-6158-B            Lost Profits
                                         Nueces County, TX
Michael Alfred,   Dallas, TX    6/19    Jack County Hospital       Lost Profits    *
 David Spiller                           District d/b/a Faith
                                       Community Hospital v
                                       Blue Cross Blue Shield
                                       of Texas, a Division of
                                         Health Care Service
                                             Corporation
                                          01-17-0006-8253
                                        American Arbitration
                                             Association


Tom Cowart,       Dallas, TX    5/19     Asta Partners, LLC,       Analysis of     *
Michael Yanof                           Asta Gold 1 Partners,        Losses
                                           LLC v Velumani          Related to
                                         Palaniswamy, et. al.     Money Stolen
                                             17-1244-431              from
                                         Denton County, TX          Business
 Jim Webster      Dallas, TX    5/19     Jaime Gonzalez v E-       Critique of     *
                                       Care Emergency Frisco,      Opposing
                                              LLC d/b/a             Expert’s
                                          E-Care Emergency         Economic
                                            Center, et. al.         Damage
                                           CC-15-04665-B             Report
                                          Dallas County, TX
George Miller,    Houston, TX   5/19   Christopher Johnson &      Lost Earning              *
Jonah Toleno                            Lee Przybyla v USAA       Capacity Due         (Arbitration
                                       Financial Advisors, Inc.   to Damaging           Hearing)
                                              17-03279            Language in
                                          FINRA Arbitration          his U-5
                                               Hearing




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 Kristopher Heald      McKinney,     5/19     Edmund O. Cordero         Lost Earning              *
                         TX                  v Kyle Ray Ricchi, et.      Capacity
                                                        al.
                                                219-03412-2016
                                               Collin County, TX
     Kelly Puls,       Dallas, TX    5/19      Lezlie Johnston v           Estimate               *
J. Patrick Gallagher                            Lincoln Property        Present Value
                                            Company Management           of Life Care
                                                   Inc., et. al.             Plan
                                                  DC-16-07145
                                               Dallas County, TX
 Derrick Boyd,         Fort Worth,   4/19     XIP, LLC v Michael           Lost                   *
Allen Williamson,          TX                McGraw et. al. v J.K.       Royalties,
    Jesse King                              Henderson, et. al. v J.K.   Lost Profits,
                                              Henderson & Roam            Unjust
                                                   Corporation          Enrichment
                                                 348-267268-13
                                              Tarrant County, TX
 Derrick Boyd,         Fort Worth,   3/19     XIP, LLC v Michael           Lost         *
Allen Williamson,          TX                McGraw et. al. v J.K.       Royalties,
    Jesse King                              Henderson, et. al. v J.K.   Lost Profits,
                                              Henderson & Roam            Unjust
                                                   Corporation          Enrichment
                                                 348-267268-13
                                              Tarrant County, TX
  Doug Hafer,          Fort Worth,   2/19    Jessica Sides, et. al. v   Lost Earning    *
 Geno Borchardt            TX                  Winston D. Tavee,         Capacity
                                                   M.D., et. al.
                                                 348-287420-16
                                              Tarrant County, TX
  W. Kelly Puls        Fort Worth,   2/19      Lezlie Johnston v        Present Value   *
                           TX                   Lincoln Property           of Ms.
                                            Company Management,          Johnston’s
                                                    Inc. et. al.          Life Care
                                                  DC-16-07145            Plan Costs
                                               Dallas County, TX
Mark Nacol, Julian     Dallas, TX    2/19       In the Matter of        Data Needed             *
     Nacol                                    Marriage of Danielle      to Complete,        (Pre-Trial
                                             Armstrong-Briley and        Valuation of        Hearing)
                                                Ronald C. Briley          the Estate,
                                                  DF-18-05997             Projecting
                                               Dallas County, TX        Future Expert
                                                                             Fees
  Charla Aldous,       Dallas, TX    2/19   Sarah Milburn, et. Al.      Lost Earning              *
  Brent Walker                              V Uber Technologies,           Capacity,
                                                 Inc., et. Al.           Calculating
                                                DC-16-16470             Present Value
                                             Dallas County, TX           of Life Care
                                                                             Plan
Matthew Meyer,         Decatur, TX   1/19     MLCCA, Inc. v SF           Lost Profits           *
Allen Williamson                             Const. Serv., LLC, et.                         (by video)
                                                      Al.
                                                CV17-01-057
                                              Wise County, TX




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Kristofor Heald,    Dallas, TX    1/19     Susan Panter, et. al. v    Lost Earning                *
 Martin Futrell                            Yellow Checker Cab          Capacity
                                            Company of Dallas /
                                           Fort Worth, Inc. et. al.
                                                DC-15-06311
                                             Dallas County, TX
Michael Martinez,   Dallas, TX    12/18   Anastacio Lemus Lopez       Lost Earning     *
Michael Nadimi                             v Minneapolis Police        Capacity
                                          Officer Russell Cragin,
                                                    et. al.
                                            17-cv-01179-PAM-
                                                    KMM
                                             U.S. District Court
                                           District of Minnesota
  David Russell     Fort Worth,   12/18        Charles Wells,           Wrongful       *
                        TX                  Individually et. al. v     Death, Lost
                                            Amarillo Anesthesia         Economic
                                             Consultants, et. al.     Support, Lost
                                               106681-D-CV             Household
                                             Potter County, TX           Services
Matthew Meyer,      Decatur, TX   12/18      MLCCA, Inc. v SF          Lost Profits    *
Allen Williamson                           Const. Serv., LLC, et.
                                                      Al.
                                                CV17-01-057
                                              Wise County, TX
W. D. Masterson     Dallas, TX    10/18    Leslie Keng v USAA,        Lost Earning              *
                                                    et. Al.           Capacity Due         (Arbitration
                                                  17-01737            to Damaging           Hearing)
                                             FINRA Arbitration         Language in
                                                   Hearing                his U-5
  Michael Peck      Fort Worth,   10/18     Hung Dang, M.D. v           Calculating    *
                        TX                Mai Vu-Quynh Hoang,          Lost Income
                                                M.D., et. Al.         from a Profit
                                               141-292051-17              Sharing
                                            Tarrant County, TX          Agreement
 Roger Hurlbut      Fort Worth,   9/18        Estate of Michael          Wrongful                 *
                        TX                  Purgason, Michelle             Death
                                           Purgason and Thomas         Lost Income
                                          Purgason, M.D. v Jack        from Family
                                            Hobert Good, et. al.          Medical
                                                    35179                Practice &
                                            Washington County,            Loss of
                                          TX, Moved to Probate            Practice
                                                 Court No. 2               Value
                                            Tarrant County, TX          Incurred by
                                                                      Parents due to
                                                                       Son’s Death
Robert Goodman,     Dallas, TX    9/18       Neil Parr v BAE             Wrongful      *
       Jr.                                  Systems Technical          Termination
                                           Solutions, Inc., et. al.      Lost Back
                                             096-290691-17            Pay and Front
                                           Tarrant County, TX               Pay




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                    .-           SHIPP NEEDHAM
                             ,   Economic Analysis, LLC

  Allyn Needham Ph.D., CEA                                             Shannon Shipp Ph.D., MAFF, CEA
 aneedham@shippneedham.com                                               sshipp@shippneedham.com
     (817) 915-9420 Cell                                                      (817) 235-1945 Cell




                                       Fee Schedule


Analysis, report preparation, attorney meetings                   $425 per hour

Trial testimony, deposition testimony                             $425 per hour
                                                                  (3 hour minimum)

Travel expenses                                                   as incurred

Retainer                                                          Amount depending on
                                                                  estimated time to complete
                                                                  analysis




   Allyn Needham                                         Shannon Shipp




                    6320 Southwest Boulevard, Suite 113 • Fort Worth, TX 76109
                          Telephone (817) 348-0213 • Fax (817) 348-0232
Case 4:22-cv-03983 Document 33 Filed on 03/20/23 in TXSD Page 46 of 47

                                SHIPP NEEDHAM
                            Economic Analysis, LLC
                             6320 Southwest Boulevard, Suite 113
                                   Fort Worth, TX 76109
                                 817-348-0213 Telephone
                                  817-348-0232 Facsimile
Allyn Needham Ph.D., CEA                                                   Shannon Shipp Ph.D., MAFF, CEA
aneedham@shippneedham.com                                                    sshipp@shippneedham.com
   (817)915-9420 Cell                                                            (817)235-1945 Cell




                                           Invoice
October 21, 2022

Derrick Boyd
Boyd, Powers & Williamson
P.O. Box 957
Decatur, TX 76234

RE: Robert Harris v PropX

Services Rendered:

      Hours             Rate/Hour           Dollars
       24.0         I     $425         I   $10,200.00

            Total         $10,200.00

    Retainer Paid              $0.00

   TOTAL DUE              $10,200.00



First Invoice: Please See Attached Sheet

Terms: Net on Invoice. Please make the check payable to:
       Shipp Needham Economic Analysis, LLC (Tax #XX-XXXXXXX).
       Case # 22.08.011

This invoice has been sent to the firm that requested our services. Payment is due on invoice.
Communications regarding this invoice will be made to the invoiced firm. We reserve the right to
demand full payment of any outstanding balances before providing additional services.
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Robert Harris v PropX

                    Hours and Expenses
                9/8/2022 through 10/21/2022

     Date             Work Performed             Time
   9/8/2022         Phone Call w/ J. King        0.50
  9/29/2022        Phone Call w/ D. Boyd         0.50
 10/10/2022         Phone Call w/ J. King
                 Review Docs & Financials,
                      Spreadsheet Prep           2.75
 10/11/2022     Review Docs & Fisher Depo        0.75
 10/12/2022    Review Depos - Fisher, McEver     5.50
 10/13/2022     Review Depos - D'Agustinos       1.00
 10/17/2022       Phone Call w/ D. Boyd &
                J. King, Research, Analysis,
                  Spreadsheet Calculations       1.50
 10/18/2022       Reserch, Report Writing,
                      Spreadsheet Prep           3.50
 10/19/2022      Research, Report Writing,
                      Spreadsheet Prep           4.00
 10/20/2022      Research, Report Writing,
                           Editing               2.50
 10/21/2022        Report Writing, Editing       1.50
                         Total Hours            24.00

                    times $425 per hour        10,200.00

                        Total Invoice          10,200.00
